Fi|l in this information to identify your case:

United States Bankruptcy Court for the: NORTHERN DlSTRlCT OF CAL|FOFlN|A

Case number (/rknown); Chapter you are filing under:
Cl'iapler 7
U Chapler 11

l;l Chapter12 _ _ '
E| chapter13 = m Check lfthls is an

amended filing

Official Form 101
Voluntary Petition for lndividuals Fi|ing for Bankruptcy 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may tile a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For examp|e, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separate|y, the form uses Debtor 1 and
Debtor 2 to distinguish between them. |n joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ldentify Yourself

1. Your full name

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your
government-issued picture AMBER

 

 

 

 

 

 

 

 

 

identification (for examplel F"s' name Fi'st name
your driver's license or
pa SSpOrt). Middle name Middle name
Bring your picture SHOUSE
identification to your meeting Last name Last name
with the trustee.
Suffix (Sr., Jr., ||l lll) Sufflx (Sr., Jr., l|, lll)
_ 2. All other names you
have used in the last 8 Fi,st name Fi,st name
years
|nc|ude your married or Middle name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Las| name Last name
3. On|y the last 4 digits of
l yourSocia|Security XXX _XX_L-LLQ_ Xxx _Xx`____
' number or federal oR oR
' individual Taxpayer
identification number 9XX ' XX __ __ _ _ 9XX _ XX __ _ ___ _
(IT|N)

O"'°ia' F°'"tf§§e: 13-42750 Doc#?'&'“"‘i-'llEE‘F“TELMH‘§‘““°H{B?%H.'Ti‘)§‘!’ft% 13:53:28 Page 1 BPB<%

Debiom AMBER SHOUSE

 

Flrst Name Middle Name

4. Any business names
and Emp|oyer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

5. Where you live

s. Why you are choosing
this district to tile for
bankruptcy

Last Name

About Debtor 1:

l;l | have not used any business names or EiNs.

UBER

Case number ()rknmn)

About Debtor 2 (Spouse On|y in a Joint Case):

El | have not used any business names or EiNs.

 

Business name

COUNTY OF HAWA||

Business name

_45£647i41
EiN " `_

_99@005_67 ______
ElN

1154 SPRUCE STREET

 

Number Street

 

BEF{KELEY CA 94707

 

City State Z|P Code

ALAMEDA COUNTY

 

County

|f your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

Business name

Business name

T_

if Debtor 2 lives at a different address:

 

Number Street

 

 

City State Z|P Code

 

County

if Dehtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State Z|P Code C“V Sfafe Z|P COde
Check one: Check one:

Z Over the last 180 days before n|ing this petitionl l
have lived in this district longer than in any other
district.

a l have another reason. Expiain.

(see 28 u.s.c.§1403.)

 

 

 

 

El Overthe last 180 days before filing this petition, l
have lived in this district longer than in any other
district.

cl l have another reason. Explain.

(see 28 u.s.c. § 1408.)

 

 

 

 

°f"°‘a' F°'"Cél§e: 13-42750 Doc#"t'""‘r‘-'lié’d.‘“f_"t!?'l'l'_'t‘z§‘““Wfilé'l%{l’.' ET/§'N'fi% 13:53:28 Page 2 8?956

Debtor 1

i~'lrst Name

AMBER SHOUSE

Middle Name

Case number unum-ny
Last Name

mTell the Court About Your Bankruptcy Case

7.

10.

11.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you tiled for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) forlndividua/s F/'/ing
for Bankruptcy (Form 2010)). Alsol go to the top of page 1 and check the appropriate box.

g Chapter 7
El Chapter 11
El Chapter 12
Cl Chapter 13

Cl i will pay the entire fee when | file my petition. P|ease check with the clerk's office in your
local court for more details about how you may pay. Typicaiiyl if you are paying the fee
yourse|f, you may pay with cash, cashier’s checkl or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address

Cl i need to pay the fee in installments if you choose this option, sign and attach the App/icat/'on
for /nd/'v/`dua/s to Pay The Fi//'ng Fee in /nsta//menfs (Official Form 103A).

g l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By |aw, a judge mayl but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must fill out the A,op/icatr`on to Have the
Chapter 7 F/'//'ng Fee Waived (Official Form 103B) and file it with your petition

 

 

 

 

 

 

 

a No
a Yes. Districl When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/YYYY
District When Case number _
MM/ DD/YYYY
a No
m Yes. Debtor Relationship to you
District When Case number, if known
MM/ DD / YYYY
Debtor Re|ationship to you
District When Case number, if known
MM / DD/ YYYY
El No. co to line 12_
a Yes. Has your landlord obtained an eviction judgment against you?

2 No. caroline 12.
El Yes. Fill out /nitial Statement About an Eviction JudgmentAgainst You (Form 101A) and file it as
part of this bankruptcy petition.

Of"°la' F°'"tj%se: 13-42750 Doc#'&'""frfn§elifmiziriieid“d_=rifbrehr§al'm\ms 13:53:28 Page 3 cease

Debtor 1

Flrd Name

AMBEFi SHOUSE

Middle Name

Case number tamm
Last Name

m Roport About Any Businesses You 0wn as a Sole Pmprletor

12.

13.

 

Are you a sole proprietor
of any fu||- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporationl partnershipl or
LLC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
tc this petiticn.

Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor’?

For a definition of small

business debtor, see
11 U.S.C. § 101(51D).

El No. eo to Pan 4.
a Yes. Name and location of business

UBER DR|VER

Name ot businessl il any

1154 SPRUCE STREET

Number Street

 

CA

BEFiKELEY
' Stale

City

94707
ZlP Code

Check the appropriate box to describe your business.'

n Health Care Business (as defined in 11 U.S.C. § 101(27A))
a Single Asset Real Estate (as denned in 11 U.S.C. § 101(51B))
n Stockbroker(as defined in 11 U.S.C. § 101 (53A))

El commodity Broi<er (ee defined in 11 u.s.c. § 101(6))

a None of the above

lf you are filing under Chapter 11, the court must know whether you are a small business debtor so thatit
can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

a No. l am not filing under Chapter11.

El No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
the Bankruptcy Code.

El Yes. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

14.

OffiClal FOH'Q:|£§€: 18_42750

 

Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For examp/e, do you own
perishable goods, or/ivestock
that must be fed, or a building
that needs urgent repairs?

a No
Cl Yes. What is the hazard??

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property??

Number Street

 

 

 

State ZiP Code

city

Doc#"£'“"‘Fi¥é’d*.“'ftfz'l'i‘f%""“Etli@i‘e€r.'Ei'l‘§tt‘ltd 13:53:28 Page 4 61936‘

Debior1 AMBER SHOUSE

Flrst Name Middle Name

Last Name

Case number (ir linen-iii

m Explaln Your Eff'orts to Receive a Briefing About Credit Counseiing

 

15. Teii the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. if you
cannot do sol you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

About Debtor 1:

You must check one:

a l received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, ifanyl that you developed with the agency.

cl l received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, but l do not have a
certificate of completion.

V\hthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
planl if any.

cl l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, Why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briehng within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy ofthe payment plan you
developed, if any. lf you do not do so, your case
may be dismissedl

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

cl l am not required to receive a briefing about
credit counseling because of:

El lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Cl Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internetl even after l
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must tile a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

El l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if anyl that you developed with the agency.

El i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but l do not have a
certificate of completion.

V\hthin 14 days after you me this bankruptcy petition,
you MUST file a copy ofthe certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirementl attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you died for
bankruptcyl and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

ifthe court is satisfied with your reasons, you must
still receive a briefing within 30 days after you fiie.
You must tile a certificate from the approved
agency, along with a copy of the payment plan you
developed, ifany. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

m l am not required to receive a briefing about
credit counseling because of:

El lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phonel or
through the internet, even after |
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Of"°‘a' F°'"tjél§e: 13-42750 Docnl'€t'“"‘Fll§di"‘£'ll?il‘i‘s*“"f§rft&'i%tfl.'EaI'lQ'intB 13:53:28 Page 5 61956

Debtor1 AMBER SHOUSE Case number tlrim:wm

Flrst Name Middle Name LastName

m Answer These Questions for Reporting Purposes

 

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101 (B)

16' \;g:]a:.:`ilne% °f debts do as “incurred by an individual primarily for a personal, family, or household purpose_"
' El No. Go to line lob_

2 Yes. eo to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

m No. Go to line 160.
Ei Yes. Go to line 17.

160. State the type of debts you owe that are not consumer debts or business debts.

 

17. Are you filing under

Chapter 7? n No. l am not filing under Chapter 7.

Do you estimate that after 2 Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and g No

administrative expenses

are paid that funds will be 9 Ye$

available for distribution
to unsecured creditors?

18. How many creditors do a 1-49

you estimate that you l;l 50-99
OWe? El 100-199
l;l 200-999
19. How much do you E $0-$50,000
estimate your assets to [| $50,001-$100,000
be WOFth? l._.l $100,001-$500,000
Cl $500,001-$1 million
20. How much do you El $0-$50,000
estimate your liabilities l:| $50,001-$100,000
to be? 2 $100,001-$500,000

Cl $500,001-$1 million

Sign Beiow
l have examined this petition, and l declare under penalty of perjury that the information provided is true and
F°r you correct

if l have chosen to file under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13 of
title 11l United States Code. l understand the relief available under each chapter 7, and l choose to proceed under
Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition

l understand making a false statementl concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both_
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X Aitlt`#e)»..§ln¢¢tcf)-t X

 

Signature of Debtor1 Signature of Debtor 2
1
Executed on i j &.\ 10 \E') Executed on
MM / DD /YYYY MM/ DD /YYYY

O"'°‘a' F°r"tjét§e: 13-42750 Doc#"t'“"*F'llé’d'i"ftl?'l'tj!%‘d“a§ifil§'t%d’.’ EIVZ'MB 13:53:28 Page 6 dtgsé

Debtor1 AMBER SHOUSE

Case number tit timing

 

 

l-'lrst Name Middle Name

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

Of"°“"" F°"t:iétée: 13-42750

Last Name

The law allows you, as an individuai, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successful|y. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successfull you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights For exampie, your case may be
dismissed because you did not file a required documentl pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. if that happens you could lose your right to file another
case, or you may lose protectionsl including the benefit of the automatic stay.

You must list ali your property and debts in the schedules that you are required to file with the
coult. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedulesl lf you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property, The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding propertyl falsifying recordsl or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

if you decide to file without an attorneyl the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself To be
successfull you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

a No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or lmprisoned?

cl No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
m No

n Yes. Name of Person _
Attach Bankruptcy Petition Preparer's Notice, Dec/aration, and Signature (Official Form 119).

 

By signing herel l acknowledge that i understand the risks involved in filing without an attorney. i
have read and understood this notice, and i am aware that Hiing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

 

X_Lt/tlil/€>v Mlbt/ X

 

 

 

 

Signature of Debtor 1 Signature of Debtor 2
Date l \ l ¢L§ j fo \@ Date
MM/ DD YYYY MM/ DD /YYYY
Contact phone 8089902218 Contact phone
Cell phone 8089902213 Cell phone
Email address ASHOUSE@M"-LS EDU Emai| address

 

 

Doc#"i!'““‘rl'llé’d‘.i"?!t/§'l'i'tt§i""*é‘n':t"i§?%d’.’ Eii'§ti‘it§ 13:53:28 Page 7 819§8

Fili in this information to identify your case:

Debtor1 AN|BER SHOUSE

First Name Middle Name Last Name

 

Debtor 2
(Spouse, iffiling) FirstName l\.‘iitlt§e flame LastName

United States Bankruptcy Court forthe: NORTHERN D|STR|CT OF CAL|FORN|A

 

case number Cl cheek ltthie is en
lltl<nownl amended filing

 

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statisticai information 12/15

 

 

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. Fiii out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own

 

 

 

 

 

; 1. Schedule A/B.' Property(Officlal Form 106A/B) 0 00
l 1a. Copy line 55, Totalrealestate, from Schedule A/B $ '
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 7020.40
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 7020_40
Summarize Your Liabillties
¥our liabilities
Amount you owe
2. Schedule D.' Credifors Who Have C/aims Secured by Property (Official Form 106D) 3407 00
2a Copy the total you listed in Column A, Amount of claim, at the bottom cf the last page of Part 1 of Schedule D ............ $ _'__
f= 3. Schedule E/F.' Creditors Who Have Unsecured Claims (Official Form 106E/F) $ 0 00

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

3b. Copy the total claims from Pait 2 (nonpriority unsecured claims) from line Gj of Schedule E/F ....................................... + $ 98129_73

 

 

 

 

 

Your total liabilities $ 101536-73
Summarize ¥our income and Expenses
4. Schedule l.' Your/ncome (Official Form 106|) 1419 48
l Copy your combined monthly income from line 12 of Schedule l .......................................................................................... $ __`
5. Schedule J.' Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c of Schedule J .................................................................................................... $ M

thcial Formq@§§l:mlg_d'Z?BO [%Ct)igi#r¢na]fy of];itl§r -s:s|`gféza%é:ll'.§ibi|i iers“a§i!iq¥(l:rta|ir:i|`/&a]fl/s:ii§al]ir:iafb§§a: i¢§i Page 8 Of 56 Page 1

Debtor 1 AMBER SHO USE Case number tlrlmoum

 

Flrst Name Middle Name LastName

m Answer These Questions for Administrative and Statistical Records

 

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

m No.
M Yes

§ 7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
family, or household purpose_" 11 U.S.C. § 101(8). Fill outlines 8-9g for statistical purposes 28 U.S.C. § 159.

a Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Officlal

Form 122A-1 Line 11;OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

$ 919.48

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $___Q@_
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $____0'00
90. Claims for death or personal injury while you were intoxicated (Copy line 60.) $_0'(_)9_
9d. student loans (copy line af.) $___M
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ O_()O

priority claims. (Copy line 69.) __
9f. Debts to pension or profit-sharing pians, and other similar debts (Copy line 6h.) + 5 0.00
99. Total. Add lines 9a through 9f. s 0-00

 

 

 

Officlal Form 10 §i§ne: u§n_n£ilazry?¢§Qour|RQsCe-§ g`nd Lli:ait|)§igeslaii`r/i?¢]é/rfla§i Stall:'igit§ali?nqdrr:iialégnl/lg 13:53:28 Page 9 Of 5§39€ 2

Fill in this information to identify your case and this filing:

 

 

 

Debtor1 AlleEFi sHOuSE

First Name Middle Name Last Name
Debtor 2
(Spouse, iffiling) FirstName Middle Name LastName

United States Bankruptcy Courf forthe: NORTHERN D|STR|CT OF CAL|FORN|A

Case number

 

Cl Check if this is an
amended filing

 

Officlal Form 106A/B
schedule A/B: Property 12/15

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

m Describe Each Residence, Building, Land, or Other Real Estate You 0wn or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

g No. Go to Part 2.
El Yes. Where is the property?

' ')
What ls the property' Check an that app'y' Do not deduct secured claims or exemptions Put
n Single-fe mily home the amount of any secured claims on Schedule D:

 

 

 

 

1'1' _ _ _ _ n Duplex or multi-unit building creditors Who Have Claims secured by Pmpeny'

Streei address, if available, or other descnptlon _ _ .
cl C°nd°mlnlum °r <=O<>l~>e\'*itlve Current value of the Current value of the
a Manufactured or mobile home entire property? portion you own?
n Land $ $
n investment property

‘ |;| Timeshare Describe the nature of your ownership
lev State Z|P Code n Other interest (such as fee simpie, tenancy by

 

the entireties, or a life estate), if known.
Who has an interest in the property? Check one.

n Debtor1 only

County a Debtor 2 only

n Debtor1 and Debtor 2 only n Check if this is community property
(see instructions)

 

 

n At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

what ls the property? Check all thai apply' Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D.'

 

 

 

 

1_2_ ' l l l m Dup|ex or multi_unit building Credltors Who Have Claims Secured by Property,
Streei addressl lf available, or other descnptlon _ _ _
m COndOmlnlUm or C°°Pefatlve Current value of the Current value of the
Cl Manufactured or mobile home entire property? portion you own?
n Land $ 5
El investment property _
n Timeshare Describe the nature of your ownership
City State Z|P Code interest (such as fee simp|e, tenancy by
cl Other the entireties, or a life estate), ir known.

 

Who has an interest in the property? Check one_
n Debtor1 only

 

 

County 1;| Debtor 2 only
n Debtor1 and Debtor 2 only m Check if this is community property
n At least one of the debtors and another (Se€ inStrUCinnS)

Other information you wish to add about this item, such as local
property identification number:

Case: 18-42750 Doc# 1 Fiied: 11/21/18 Entered: 11/21/18 13:53:28 Page 10 of 56
Officlal Form 106A/B Schedule AlB: Property page 1

 

Debtor1 AMBER SHOUSE

Case number lillirlowm

 

First Name Middle Name Last Name

1.3.
Streei address if available, or other description

 

 

 

City State Z|P Code

 

County

2. Add the dollar value of the portion you own for ali of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...................................................................................... 9

m Describe ¥our Vehicles

What is the property? Check all that appiy.
a Single-family home

Cl Duplex or multi-unit building

n Condominium or cooperative

n Manufactured or mobile home

m Land

n investment property

Ei Timeshare

El other

 

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

Ei Debtor 1 and Debtor 2 only

Ci At leeet one or the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

 

a Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

5 U.OU

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives if you lease a vehicle, also report it on Schedule G.' Execufory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Ei No
g Yes
3_1_ Make: FORD
Model: FlEsTA
Year: 2012
soooo

Approximate mileage:
Other information:

lVALUED |N GOOD CONDiT|ON AT
PFilVATE PAFiTY FiATE ON KBB.

if you own or have more than onel describe here:

3_2_ Make:
Model:
Year:
Approximate mileage:

Other information:

Who has an interest in the property? Check one

2 Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

Ei Debtor 2 only

n Debtor1 and Debtor 2 only

cl At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property

Current value of the
portion you own?

Current value of the
entire property?

5 5084.00 $ 3050.40

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Clalms Secured by Property

Current value of the
portion you own?

Current value of the
entire property?

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Ofiicia| Form 106A/B

Schedule AlB: Property

page 2

Debtor1 AMBER SHOUSE

 

Flrst Name Middle Name

3_3_ Make:
Model:
Year:
Approximate mileage:

Other information:

3_4, Make:
Model:
Year:
Approximate mileage:

Other information:

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Case number lirlrnawm

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Credltors Who Have Claims Secured by Pioperty.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examp/es: Boatsl trailers, motors, personal watercralt, fishing vessels, snowmobiles, motorcycle accessories

g No
Ei Yes

4_1_ Make:
Model:
Year:
Other information:
l
l

if you own or have more than one, list here:

4_2_ Make:
Model:
Year:

Other information:

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

Who has an interest in the property? Check one.

cl Debtor1 only

cl Debtor 2 only

cl Debtor 1 and Debtor 2 only

m At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Ei Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D.'
Credltors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property

Current value of the Current value of the
entire property? portion you own?

3050.40

you have attached for Part 2. Write that number here -)

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Offlciai Form 106A/B

Schedule AlB: Property

page 3

 

Debtor1 AMBER SHOUSE Case number (ifm)wru

F\rst Name Middle Name Lasl Name

m Describe Your Personal and Household items

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examp/es: Major appliances furniture, |inens, china, kitchenware

n No
2 Yes. Describe ......... BED, CHA|RS, AND OTHER

7. E|ectronics

Examp/es.' Te|evisions and radios; audio, video, stereo, and digital equipment; computers, printersl scanners; music
collections; electronic devices including cell phones, cameras, media players, games

n No
3 Yes~ Describe---------- COMPUTER, PR|NTER, AND sMARTPHONE

8. Collectib|es of value

Examp/es.' Antiques and ngrines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabi|ia, collectibles
2 No

El Yes. Describe ...........
9. Equipment for sports and hobbies

Examp/es: Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry too|s; musical instruments

g No
El Yes_ Describe..,._,,...

10.Firearms
Examp/es,' Pistols, rifles, shotguns, ammunition, and related equipment

a No
El Yes. Describe ..........

11.Clothes
Examp/es: Everyday clothes, furs, leather coats, designer wear, shoesl accessories
n No y
2 Yes. Describe .......... 1 ALL CLOTHES AND FOOTwEAR

12.Jewelry
Examp|es: Everyday jewelry, costumejewe|ry, engagement rings, wedding rings, heir|oom jewelry, watches, gems,
go|d, silver
El No

2 Yes. Describe...........§BFlACELl:_l, EARR|NGS, NECKLACE, AND FllNG
13. Non-farm animals
Examp/es: Dogs, cats, birds, horses

g No l
El Yes. Describe .......... j

14.Any other personal and household items you did not already list, including any health aids you did not list

ENO

m Yes. Give specific
information.

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here .................................................................................................................................................... -)

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Officlal Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do nol deduct secured claims
or exemptions

 

5 250.00
$ 1200.00
$ 0.00
$ 0.00
$ 0.00
$ 150.00
5 50.00
35 0.00
$r_O-OO
$ _ 1650.00

 

 

 

Page 13 of 56
page 4

Debtor 1 AMBER SHOUSE Case number tirme

 

 

 

 

 

 

 

 

 

 

 

F|rst Name Middle Name LastName
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current Value °f the
portion you own?
Do not deduct secured claims
or exemptions
16.Cash
Examp/es: Money you have in your walletl in your homel in a safe deposit box, and on hand when you file your petition
cl No
Z Yes ................................................................................................................................................................ Cash: ______________________ $ 20,00
17. Deposits of money
Examp/es.' Checklng, savings, or other Hnancia| accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. |f you have multiple accounts with the same institution, list each.
a No
Yes ..................... institution name:
17 2 Checking account: $
17.3. Savings accounts PHOV|DENT CRED|T UN|ON 3 2000.00
17 4. Savings account: 5
17 5 Certiticates of deposit: $
17 6. Other financial account $
17 7. Other financial acoount: $
17 8 Other financial account $
17 9. Other financial account: $

 

18. Bonds, mutual funds, or publicly traded stocks
Examp/es.' Bond funds, investment accounts with brokerage tirms, money market accounts

'No

a Yes ................. lnstitution or issuer name:

 

 

 

19. Non-publlcly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

g NO Name of entity: % of ownership'.
n Yes. Give specific %
information about
them ......................... %
%

 

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Officlal Form 106A/B Schedule A/B: Property page 5

Debtor1 AM BEH SHOUSE Case number tamiami

Fer Name Middle Name Lu'.rt l\tnme

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiab/e instruments include personal checks cashiers‘ checks promissory notes and money orders
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
El Yes. Give specinc issuer name:
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... - - - _ $
5
$
21. Retirement or pension accounts
Examples.' interests in |RA, ER|SA, Keogh, 401 (k)l 403(b), thriit savings accounts or other pension or profit-sharing plans
No
El Yes. List each
account separately Type of account institution name:
401(k) or similar plan: $
Pension plan: $
|RA: $
Retirement acoounl: $
Keogh: $
Additional account $
Addiiional account $
22. Security deposits and prepayments
Your share ofall unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords prepaid rent, public utilities (electric, gas water), telecommunications
companies or others
a No
a Yes .......................... institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Teiephone: $
Water: $
Rented furniture: $
Other: $
23.Annuities (A contract for a periodic payment of money to youl either for life or for a number of years)
No
a Yes .......................... issuer name and description:
$
$
5

 

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Officlal Form 106A/B Schedule AIB: Property page 6

Debtor 1 AMBER SHO USE Case number mimwi

Firet Name Middle Name Last Name

 

 

24. interests in an education |RA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1)l 529A(b)l and 529(b)(1).

ZNo

n Yes """"""""""""""""""" institution name and description. Separateiy file the records of any interests.11 U.S.C. § 521(c):

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

ZNo

El Yes. Give specific _
information about them....' | $ 0.00

26. Patents, copyrights trademarks trade secrets, and other intellectual property
Examples: |nternet domain names websites proceeds from royalties and licensing agreements

ZNo

n Yes. Give specific
information about them.... $ 0.00 ':

;- 27. Licenses, franchises and other general intangibles
Exampies: Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses

ZNo

i;l Yes. Give specific
information about them.... ' $ 0.00

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28.Tax refunds owed to you

ZNo

L_.l Yes. Give specific information
about them, including whether
you already filed the returns state:
and the tax years

Locai: $

Federal:

l 29. Family support
Examples: Past due or lump sum alimonyl spousal support, child support, maintenanoe, divorce settlement property settlement

INo

n Yes. Give specific information ..............

Aiimony: $
l Maintenance: $
l Support: $
Divorce settlement $
Property settlement $
30. Other amounts someone owes you
Examples: Unpaid wages disability insurance payments disability benefits sick pay, vacation pay, workers' compensationl
Social Security benefits; unpaid loans you made to someone else
a No
cl Yes. Give specific information ............... s 0.00

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Oficia| Form 106A/B Schedule AlB: Property page 7

Debtor1 AMBER SHOUSE Case number iii mm

First Name Middle Name Last Name

 

 

31. interests in insurance policies
Examples: Health, disability, or life insurance;heaith savings account (HSA);credit, homeowner’sl or renter‘s insurance

ZNo

l:l Yes. Name the insurance company company name: Benefi¢iary; Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trustl expect proceeds from a life insurance policyl or are currently entitled to receive
property because someone has died.

 

q No
El Yes. Give s ecific information .............. .
p $ 0.00
33. Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidentsl employment disputes insurance claims or rights to sue
m No
i;l Yes. Describe each claim. ....................
$ 0.00
34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims
2 No
Cl Yes. Describe each claim. .................... '
$ 0.00
35.Any financial assets you did not already list
a No
El Yes. Give specific information ............ s ()_O()
36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here 9 5 2320-00

 

 

 

Describe Any Business-Related Property You own or Have an interest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
No. Go to Part 6.
cl Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims

or exemptions
38.Accounts receivable or commissions you already earned
El No
a Yes. Describe.._....
$

39. Oftice equipment, furnishings, and supplies
Examples: Business-related computers softwarel modemsl printers copiers tax machines rugs telephones desks chairs electronic devices

i;\ No
n Yes. Describe....... $

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Off”iciai Form 106A/B Schedule A/B: Property page 8

Debtor1 AMBER SHOUSE Case number (irimnwni

Fird Name Middle Name Last Name

 

 

40. Machinery, fixtures equipment, supplies you use in business and tools of your trade

cl No _
Cl Yes. Describe..___.f iss

41 . inventory
cl No .
l:l Yes. Describe ....... § 5

42. interests in partnerships or joint ventures

n No
m Yes. Describe .......

 

 

Name of entity: % of ownership:
% s
% $
% $

 

43. Customer lists mailing lists or other compilations
n No
n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?

i:l No _
El Yes. Describe. ....... : |

44.Any business-related property you did not already list
Cl No

n Yes. Give specific
information

 

 

 

 

 

H'b€'i'£$€q$

 

 

45. Add the dollar value of all of your entries from Part 5. including any entries for pages you have attached $ 0
for Part 6. Write that number here .................................................................................................................................................... 9 '_'*_

 

 

 

Part 6: Describe Any Farm- and Commercial Fishing-Related Property You 0wn or Have an interest ln.
if you own or have an interest in faim|and, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any fann- or commercial fishing-related property?
ii No. co to Part 7.
Ei Yes. co to line 47.
Current value of the
portion you own?
Do not deduct secured claims

or exemptions
47. Farrn animals
Examples: Livestock, poultry, fann-raised fish
n No
m Yes
$

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Official Form 106A/B Schedule AIB: Property page 9

Debtor1 AMBER SHO USE Case number cfr iian

 

First Name Middle Name Last Name

48.Crops-either growing or harvested

L_.lNo

n Yes. Give specific
information............_ $

49. Farm and fishing equipment, implements machinery, fixtures and tools of trade

n No
El Yes ..........................

50. Farm and fishing supplies chemicals and feed

n No
n Yes

51.Any farm- and commercial fishing-related property you did not already list
El No

n Yes. Give specific `-
information......_......j $

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here 9

 

0.00

 

Describe All Property You Own or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets country club membership

ENo

Cl Yes. Give specific
information ............. i

 

 

54.Add the dollar value of all of your entries from Part 7. Write that number here 9

 

List the Totais of Each Part of this Form

 

55.Part 1: Total real estate, line 2 9 $

56. Part 2: Total vehicles, line 5 $ 3050-40

57.Part 3: Total personal and household items line 15 $ 1650'00

58.Part 4: Total financial assets line 36 $ 2320'00

59.Part 5: Total business-related propertyl line 45 $ 0

60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00

61.Pait 7: Total other property not listed, line 54 + $ 0

62.Total personal property. Add lines 56 through 61 . .................... $ 7020'40 Copy personal property total 9 + $

0.00

7020.40

 

63.Tota| of all property on Schedule A/B. Add line 55 + line 62 .......................................................................................... $

 

7020.40

 

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Officlal Form 106A/B Schedule AlB: Property

page 10

 

 

 

Fill in this information to identify your case:

Debtor1 AMBER SHO USE

First Name Middle Name Last Name

Debtor 2
(SpOUSe, 'rf filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: NORTHERN D|STF“CT OF CAL|FORN'A

 

Case number m Check if this iS an
("""°W") amended filing

 

Officia| Form 106C
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is neededl fill out and attach to this page as many copies of Part 2.' Additiona/ Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you ciaim. One way of doing so is to state a
specific dollar amount as exempt. Alternativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory iimit. Some exemptions_such as those for health aids rights to receive certain benefits and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m identify the Property ¥ou Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you,

E\ You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
g You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

 

 

 

 

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule /VB
Brief 250
descriptions H°USEHOLD $ El $ 250 11 USC § 522(0)<@)
- n 100% of fair market value, up to
Line from . .
Schedule A/B.' 6 any applicable statutory limit 11 USC § 522(0)(5)
Brief v 11 usc § 522(D)(5)
description: ELECTRON'CS $ 1200 $ 1200
Line from 7 El 100% of fair market value, up to
Schedule A/B,- any applicable statutory limit
Br'ef
de|scription: -CLOTHES_ 5 150 El $ 150 11 usc § 522(b)(3)
Line from Cl 100% of fair market vaiue, up to
Schedule A/B.' " any applicable statutory limit 11 USC § 522(0>(5)

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/199 and every 3 years after that for cases nled on or after the date of adjustment.)

M No
El Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

a No
cl Yes

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Officlal Form 1060 Schedule C: The Property You Claim as Exempt page 1

AMBEFt SHOUSE

First Name Middle Namie

m Additionai Page

Debtor 1 Case number (irim~.ii

 

LES\ Name

 

Current value of the Specific laws that allow exemption

portion you own

Brief description of the property and line Amount of the exemption you claim

on Schedule A/B that lists this property

Copy the value from Check only one box for each exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule A/B
E:se;npti°n. JEWELF‘Y $ 50 g $ 50 11 usc § 522(0)(4)
Line frorn 12 m 100% of|_fal;|market va|uF' l.jtp to 11 usc §522(0)(5)
Schedule A/B.l any app ica e statutory imi
B ` f
d;|secription: CASH $ 20 a $ 20 11 USC § 52<0)15)
Line from El 100% of fair market value, up to
Schedule A/B; L any applicable statutory limit
E;i;:ription- LOMOB'LE_ 5 3050-4 g $ 1677 11 usc § 52(¢1)(2)
- l n 100% of fair market value up to
Line from '
Schedule A/B_' L any applicable statutory limit 11 USC § 522(°)(5)
:;i:;ription_ ci-iEci<iNG AccouNr PFioviDENr cr $ 300 g $ soo 11 USC § 522(D)(5)
Line from 17 E\ 100% of fair market valuel up to
Schedule A/B: any applicable statutory limit
§;i:;ription_ sAviNGs AocouNT PFioviDENT one $ 2000 g $ 2000 11 USC § 522(0)(5)
Line from El 100% of fair market value, up fo
Schedule A/B; L any applicable statutory limit
Brief
description: $ n $
Line from El 100% of fair market value, up to
Schedule A/B_- _ any applicable statutory limit
Brief
description: $ n $
Line from Cl 100% of fair market valuel up to
Schedule A/B; any applicable statutory limit
Brief
description: $ cl $
Line from El 100% of fair market vaiue, up to
Schedule A/B; __ any applicable statutory limit
Brief
description: $ a $
Line from n 100% of fair market value, up to
schedule A/B,- _ any applicable statutory limit
Brief
description: 5 m $
Line from n 100% of fair market value, up to
schedule A/B; any applicable statutory limit
Brief
description: 5 n $
Line from El 100% offair market valuel up to
Schedule A/B,- _ any applicable statutory limit
Brief
description: $ n $
Line from n 100% of fair market value, up to
Schedule A/B_- _ any applicable statutory limit

CaSe: 18-42750 DOC# 1
Officlal Form 106C

Filed: 11/21/18 Entel’ed: 11/21/18 13253:28

Schedule C: The Property You Claim as Exempt

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page 2

Fill in this information to identify your case:

AMBEFt SHOUSE

First N ame

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) FirsiName

United States Bankruptcy Court for the: NORTHERN D|STR|CT OF CAL|FORN|A

 

Middle Name Last Name

Case n u mber
(|f knovmi

 

 

 

Officlal Form 106D

 

El check iftnie is en
amended filing

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, copy the Additional Page, fill it out, number the entries and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

El No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

g Yes. Fill in all of the information below.

m List Ail secured claims

12/15

 

 

 

 

 

Creditors Name

 

Number Street

 

 

city slate zlP code

Who owes the debt? Check one.
n Debtor1 only
m Debtor 2 only

n Debtor 1 and Debtor 2 only
n Af least one of the debtors and another

n Check if this claim relates to a
community debt

Date debt was incurred

 

Column A Column B Column C
2. List all secured ciaims. if a creditor has more than one secured claim, list the creditor separately Amount of claim value of collatera\ Unsecured
for each claim. lf more than one creditor has a particular claiml list the other creditors in Part 2. Do not deduo| the that supports this portion
As much as possibie, list the claims in alphabetical order according to the creditors name. value of Oo"m,a¢_ claim |f any
GM F|NANC|A|_ Describe the property that secures the claim: $ 3407.00 $ 5084.00 $ 0
Creditors Name | ' _
PO BOX 78143
Number Streei _
As of the date you file, the claim is: Check all that apply.
n Contingent
PHEQN|X _ _AZ 85062 El unliquidaled
City State Z|P Code m Disputed
Who owes the debt? Check One- Nature of lien. Check ali that apply.
a Debtor 1 only v An agreement you made (such as mortgage or secured
El Debtor 2 only car loan)
m Debtor 1 and Debtor 2 only n Statutory lien (such as tax iien, mechanic's lien)
Ci Al least one of the debtors end anolher n Judgment lien from a lawsuit
n Other (including a right to offset)
n Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number §83_ __ _
|-B| Describe the property that secures the claim: $ 5 $

 

[___ _

|
As of the date you fiie, the claim is: Check all that appiy.
cl Contingent
El unliquidated
ij Disputed

Nature of iien. Check all that appiy.

n An agreement you made (such as mortgage or secured
car loan)

Statufory lien (such astax lienl mechanic's lien)
Judgment lien from a lawsuit

Other (including a right to offsef)

Ul]l;i

Last 4 digits of account number _

Add the dollar value of your entries in Column A on this page. Write that number here:

Case: 18-42750 Doc# 1 Fl|ed: 11/21/18 Entered: 11/21/ . . Page 22 of 56

Officlal Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1

Fill in this information to identify your case:

AMBER SHOUSE

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

NORTHERN D|STR|CT OF CAL|FORN|A

Last Name

United States Bankruptcy Court forthe:

El check iftnis is an

case number amended filing

(lf known)

 

 

 

Officia| Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, till it out, number the entries in the boxes on the |eft. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List All of Your PR|OR|TY Unsecured claims

 

12/15

 

 

1. Do any creditors have priority unsecured claims against you?

U No. Go to Part 2.
n Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listedl identify what type of claim it is. |f a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possib|e, list the claims in alphabetical order according to the creditor's name. |f you have more than two priority
unsecured claimsl till out the Continuation Page of Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type ofc|aim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
2.1
Last 4 digits of account number _ _ _ $ 5 $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you fi|e, the claim is: Check all that apply
city State er code n C°m'"gem
_ 7 El unliquidated
Who incurred the debt. Check one. n Disputed
l;l Debtor1 only
El Debtor 2 only Type of PR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 omy l;l Domestic support obligations
At least one of the debtors and another l:l Taxes and certain other debts you owe the government
cl Check 'f thls cla'm ls for a commumty debt n Claims for death or personal injury while you were
ls the claim subject to offset? 'nt°X'°ated
E| No n Other. Specify
n Yes
|2'2 | Last 4 digits of account number _ ___ _ _ 3 5 $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
l:l Contingent
city state ziP code El Un|iquidated

Who incurred the debt? Check one.

l:l Debtor1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

n Disputed

Type of PR|OR|TY unsecured claim:
Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were

E| UUIJ

 

intoxicated
ls the claim subject to offset? Other. Specify
n No
cl Yes

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Officlal Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1

Debtor 1

m List All of Your NONPR|OR|T¥ Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

Al\/lBEFt SHOUSE

 

First Name Middle Name Last Name

Case number ritri.na~u:

 

|:l No. You have nothing to report in this part. Submit this form to the court with your other schedulesl

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.|f you have more than three nonpriority unsecured

claims fill out the Contlnuation Page of Part 2.

oAPiTAL oNE

 

Officlal Form 106E/F

 

Nonpriority Creditor's Name

2525 COFlPOFlATE PLACE 2ND FLOOR SUlTE #250

 

Number Street

MONTEFlEV PAFlK CA 91754

 

City State Z|P Code
Who incurred the debt? Check one.

n Debtor1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

cl At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

a No
a Yes

CHASE BANK

 

Nonpriority Creditor's Name
CAHDMEMBEFl SEFtV|CES P_O BOX 6294
Number Streei

CAFlOL STFlEAM |L 60197-6294

 

City State Z|P Code

Who incurred the debt? Check one.

m Debtor1 only

m Debtor2 only

|;l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?

g No
g Yes

ClT|BANK

 

Nonpriority Creditor's Name

P.O BOX 9001037

 

Number Street

LOU|SV|LLE KY 40290-1037

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

Cl Debtor2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?
n No
n Yes

Last 4 digits of account number §66_ _ _

ZQ]B__

When was the debt incurred?

As of the date you flle, the claim is: Check all that apply.

|;l Contingent
n Unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

l;l Obligations arising out ofa separation agreement or divorce
that you did not report as priority claims

l;l Debts to pension or profit-sharing plans, and other similar debts

d Other. Specify OTHER

Last 4 digits of account number Y78_ _ _
When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.

m Contingent
El unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

[;l Student loans

n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

w Other` Specify OTHER

Last 4 digits of account number _8_3(]_1_ _ ___

When was the debt incurred?

As of the date you fi|e, the claim is: Check all that apply.

a Contingent
El unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

l;l Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

v Other. Specify OTHER

Total claim

s 10838.__1_1_

s 227 . '7

$ 3Q24.53

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Schedule E/F: Creditors Who Have Unsecured Claims

page 3

Debtor1 AMBEFt SHOUSE

 

First Name Middle Name Last Name

Case number tirknown)

¥0ur NONPR|OR|TY Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

4.4

 

 

C|TY OF BEFlKEl_EY- C|TAT|ON PF\OCESS|NG CENTEFl

 

 

Nonpriority Creditor's Name

 

 

PO BOX 54017

Number Street

LOS ANGELES CA 90054-0017
City State Z|PCode

Who incurred the debt? Check one.

a Debtor1 only

a Debtor2 only

n Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

CFtED|T ONE BANK
Nonpriority Creditor's Name

PAYMENT SERV|CESl P O. BOX 60500

 

 

Number Street
C|TY OF |NDUSTRY CA 91716-0500
City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor2 only

l;l Debtor1 and Debtor 2 only

D At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

DlSCOVEFl FlNANClAL SEFlV|CES

 

Nonpriority Creditor's Name

 

P O BOX 6103

Number Street

CAROLSTREAM |L 60197-6103
City State Z|P Code

 

Who incurred the debt? Check one.

2 Debtor1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check ifthis claim is for a community debt

ls the claim subject to offset?

d No
\;l Yes

Total claim

Last 4 digits of account number _U_N_K_NO_VVN_

s 51@

When was the debt incurred? 201 7

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising cut of a separation agreement or divorce that
you did not report as priority claims

a Debts lo pension or pmm-sharing plainsl and other similar debts

a Other. Specin OTH EH

Last 4 digits of account number WUOLVN_

When was the debt incurred? 29 l 8

As of the date you file, the claim is: Check all that apply.

s669.0‘|

a Contingent
E| unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

n Other. Spec'tly OTHEH

21 O`l .41
Last 4 digits of account number WQ\|OLVN_ $_-u

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
n Unliquidated
n Disputed
l
Type of NONPR|OR|TY unsecured claim:

l:l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify OTHER

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Ofticial Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims Page 4

Debtor 1

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

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4a

 

 

 

Ochial Form 106E/F

AMBER SHOUSE

 

First Name Middle N'.tlrlc Last Name

Case number (int.imru

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

GFlEAT LAKES C/O US DEF’AFtTMENT OF EDUCAT|ON

 

Nonpriority Cred itor's Name

PO BOX 7860

 

Number Street

MAD|SON W| 53707-7860

 

City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

HFS FEDEFtAL CHEDlT UNlON

Nonpriority Creditor's Name

 

632 K|NOOl_E STFlEET

 

Number Street
H |LO H| 96720

 

City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

Cl Debtor2 only

[;l Debtor1 and Debtor 2 only

l;l At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

HAWA|l COUNTY EMPLOVEES FEDERAL CFtED|T UN|ON

 

Nonpriority Creditor's Name

131 PUUHONU WAV

 

Number Street
l-l l LO Hl 96720

 

City State Z|P Code

Who incurred the debt? Check one_

2 Debtor1 only

n Debtor 2 only

a Debtor1 and Debtor 2 only

l;l At least one of the debtors and another

l;l Check if this claim is for a community debt

ls the claim subject to offset?

m No
ij Yes

Total claim

Last 4 digits of account number _Q_N@Ol\/N__ $ 55614_42

When was the debt incurred?

As ofthe date you file, the claim is: Check all that apply.

cl Contingent
n Unliquidated
l;l Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or protil»sharing plansl and other similar debts

a Other. Specify OTHEF\

$70122

Last 4 digits of account number _U_NL<_NUN__

2Q18

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

n Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or protit-sharing plans. and other similar debts

g Other. Specify OTHER

13385.00
Last 4 digits of account number WK_|\_|Ol\/N_ $_

2017

As ofthe date you file, the claim is: Check all that apply`

When was the debt incurred?

n Contingent
Cl unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

i;l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plansl and other similar debts

a Other. Specify OTHER

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Schedule E/F: Creditors Who Have Unsecured Claims

page 4

Debtor 1

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

4.10

 

 

 

 

411

 

 

 

Ofticial Form 106E/F

AMBEFt SHOUSE

 

First Name Middle Name Last Name

Case n umber (ir knewn>

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

HlLO MED|CAL CENTEFl

 

Nonpriority Creditor's Name

1190 WAlANUENUE AVENUE

 

Number Stroet
H|LO H| 96720

 

City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one ofthe debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

lND|GO CAFtD
Nonpricr_ity Creditor's Name

 

GENES|S FS CAFtD SEFtV|OESl PO BOX 23039

 

Number Street

COLU MBUS GA 31902-3039

 

City State Z|P Code

Who incurred the debt? Check one.

m Debtor1 only

n Debtor2 only

n Debtor1 and Debtor 2 only

m At least one ofthe debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

MAVEN G|G

 

Non priorrty Creditor's Name

588 BFlAN NAN ST

 

Number Street
SAN FRANClSCO CA 94107

 

City State Z|P Code

Who incurred the debt? Check one.

2 Debtor1 only

m Debtor2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?

a No
0 Yes

Total claim

Last 4 digits of account number LNQ|Ol`/N_

2017

As of the date you file, the claim is: Check all that apply.

s 1990.00

When was the debt incurred?

m Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l:l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify MED[CAL

 

sw

Last 4 digits of account number B2_3_ _ _

ZQJB_

As ofthe date you file, the claim is: Check all that apply.

When was the debt incurred?

cl Contingent
cl Unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
l;l Debts to pension or profit-sharing plans, and other similar debts

El other. specify OTHER

1049.50
Last 4 digits of account number WWO_V\_/l\i_ $_

2018

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

m Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

a other. specify OTHER

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Schedule E/F: Creditors Who Have Unsecured Claims

page 4

Debtor 1

Part 2:

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

4.14

 

 

 

Ofncia| Form 106E/F

AMBER SHOUSE

 

First Name Mlddle Name Last Name

Case number riritnrwni

Your NONPR|CR|TY Unsecured Claims - Continuation Page

 

MUNlC|PAL SEFlV|CES BUFlEAU ClO STATE OF HAWA||

 

Nonpriority Creditor's Name

PO BOX16755

 

Number Street

AUST|N TX 78761-6755

 

City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

l;l Debtor2 only

a Debtor1 and Debtor2 only

m At least one of the debtors and another

El Check if this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

PAYPAL CFlEDlT
Nonpriority Creditor's Name

P O BOX 71202

 

Number Street

CHAFlLOTTE NC 28272-1202

 

City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

d No
l:l Yes

SAN FFlANClSCO MUNlC|PAL TRANSPOF\TAT|ON AGENCV

 

Nonpriority Creditor's Name
PO BOX 7718

 

Number Street
SAN FFlANC|SCO CA 94120

 

City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

l:l Debtor2 only

l:l Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?

d No
n Yes

Total claim

Last 4 digits of account number LNMQl/_VN_

sM

When was the debt incurred?

As ofthe date you file, the claim is: Check all that apply.

m Contingent
n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
l;l Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify OTH ER

Last 4 digits of account number LN_UOLVN__ $ 3679.70

When was the debt incurred?

As of the date you file, the claim is: Check all that apply_

n Contingent
l;l Unliquidated
m Disputed

Type of NONPR|OR|TY unsecured claim:

l;l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts

Z other. specify OTHER

sM

Last 4 digits of account number WKLIOLVN_

201§

As of the date you file, the claim is: Check all that apply.

When was the debt incurred?

m Contingent
m Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l;l Student loans

n Obligations arisingouf of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify OTH ER

Case: 18-42750 Doc# 1 Filed: 11/21/18 Entered: 11/21/18 13:53:28 Page 28 of 56

Schedule E/F: Creditors Who Have Unsecured Claims Page 4

Debtor1 AMBER SHOUSE

 

First Name Middle Name Last Name

Case number tamm

Your NONPR|OR|TY Unsecured Claims - Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim

 

4.16

 

 

STATE OF CAL|FOFlNlA FFlANCH|SE TAX BOAFtD

 

 

Nonpriority Creditor's Name

PO BOX 942840

 

 

Number Street
SACFlAl\/lE NTO CA 94240
City State Z|P Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor2 only

cl Debtor1 and Debtor 2 only

n At least one ofthe debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

a No
l;l Yes

UN|VEFlS|TY OF HAWA|| AT H|LO/ CASH|EF\S OFFlCE

 

Nonpriority Creditor's Name
200 WEST KAW|L| STFtEET

 

 

Number Street
HlLO Hl 96720
City State Z|P Code

Who incurred the debt? Check one,

a Debtor1 only

m Debtor2 only

m Debtor1 and Debtor 2 only

n At least one ofthe debtors and another

El check it this claim is for a community debt

ls the claim subject to offset?

a No
n Yes

 

Nonpriority Creditor's Name

 

Number Street

 

City State Z|P Code

Who incurred the debt? Check one.

n Debtor1 only

cl Debtor2 only

l;l Debtor1 and Debtor 2 only

m At least one ofthe debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

n No
cl Yes

Last 4 digits of account number LNQ\IO_VVN__ $ 51 36
When was the debt incurred? 201 7

As of the date you file, the claim is: Check all that apply.

m Contingent
l;l unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or profit-sharing plansl and other similar debts

a Other. Specify OTHER

Last 4 digits of account number WUOLVN_ $ 1397.25

When was the debt incurred? 201 §

As of the date you file, the claim is: Check all that apply.

a Contingent
Cl unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify OTHER

Last 4 digits of account number _ _
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

l;l Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
n Debts to pension or profit-sharing plans, and other similar debts

l;l Other. Specify

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Officlal Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims Page 4

Debtor1 AMBEFt SHOUSE

Hrst Name Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

Case number rirlunityn:

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

6a. Domestic support obligations

Total claims
from Part 1 6b. Taxes and certain other debts you owe the
government
6c. Claims for death or personal injury while you were
intoxicated
6d. Other. Add all other priority unsecured claims.
Write that amount here.
6e. Total. Add lines 6a through 6d.
Total claims 6f. Student loans
from Part 2

69. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6fthrough 6i.

6a.

6b.

60.

6d.

6e.

6f.

69_

6h.

6i.

611

 

 

 

 

 

 

Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 0.00
$ 0.00
Total claim
$ 0.00
$ 0.00
$ 0.00
+ $ 98129.73
$ 98129.73

 

 

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Ofncial Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page 14

Fill in this information to identify your case:

Debtor AMBER SHOUSE

First Name Middle Name Last Name

 

Debtor 2
(Spouse |f filing) First Name Middle Name Last Name

NORTHERN DlSTR|CT OF CAL|FOFtN|A

 

United States Bankruptcy Court forthe:

Case number

<irrnowni El Check if this is an
amended Hling

 

 

 

Officlal Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
El No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
g Yes. Fill in all ofthe information below even if the contracts or leases are listed on Schedule A/B.' Property (Official Form 106AIB).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
2.1
PAVANA DULL PtENT
Name
1154 SPFtUCE STREET
Number Street
BERKELEY CA 94707
City State Z|P Code
2.2
Name
Number Street
City State Z|P Code
2_3
Name
Number Street
City State ZlP Code
2.4
Name
Number Street
City State ZlP Code

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Officlal Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1

Fill in this information to identify your case:

Debtor1 AMBER SHOUSE

F|rd Name Middle Name
Debtor 2

 

(Spouse, if filing) First Name Middle Name

United States Bankruptcy Court for the: NORTHEHN D|STR|CT OF CAL|FORN|A

Case number

 

(|f known)

 

El check if this is an

 

Officlal Form 106H

 

Schedule H: Your Codebtors

amended filing

12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. |f more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and

case number (if known). Answer every question.

1. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)

a No
El Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Communl'fy property states and territories include
Arizona, Californial idahol Louisiana, Nevada, New Mexico, Puerto Ricol Texasl Washington, and V\hsconsin.)

m No. Go to line 3.

g Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

MNO

El Yes. ln which community state or territory did you live?

. Fill in the name and current address of that person.

 

Name of your spouse, lorrrri.ir spouse, or regal equivalent

 

Number Street

City State

Z|P Code

3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 1066). Use Schedule D,

Schedule E/F, or Schedule G to fill out Column 2.

Column 1.' Your codebtor

 

 

 

Column 2.' The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
El Schedule D, line
Name
Cl Schedule E/F, line
Number Street _ El schedule G, line
city state ziP code
3.2
l;l Schedule D, line
Name .__
l;l Schedule E/F, line
Number Street Cl Schedule G, line
city state ziPcode
3.3
l;l Schedule D, line __
Name
l:l Schedule E/F, line ____
Number Street U Schedule G, line
State Z|P Code

 

City
Case: 18-42750 Doc# 1 Filed
Officlal Form 106H

f 11/21/18 Eli'[€l’€df 11/21/18 13153128 PB_Q€ 32 Of 56
Schedule H: Your Codebtors Page 1

Fill in this information to identify your case:

 

First Name Mddle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN D|STR‘CT OF CAL|FORN|A

 

Case number CheCK if this lSZ
(if known)
El An amended filing
Cl A supplement showing postpetition chapter 13
income as of the following date:

OffiCial FOl'm 106| m
Schedule l: Your lncome 12/15

Be as complete and accurate as possible. |f two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this fonn. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Emp|oyment

31. Fill in your employment _
i information Debtor1 Debtor 2 or non-filing spouse

 

 

lfyou have more than one job,

attach a separate page with
information about additional Emp|oyment status n Emp|oyed El Emp|oyed
empioyers. g Not employed l:l Not employed

include part-time, seasonai, or
self-employed work.
Occupation

 

Occupation may include student
or homemaker, if it applies.

Employer’s name

 

Employer’s address

 

Number Street Number Street

 

 

 

City State Z|P Code City State Z|PCode

How long employed there?

-Give Deta||s About Monthly income

Estimate monthly income as of the date you tile this form. lf you have nothing to report for any line, write $O in the space. include your non-filing
spouse unless you are separated.

|f you or your non-ming spouse have more than one empioyer, combine the information for ali employers for that person on the lines
below. if you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
non-filing spouse

 

; 2. List monthly gross wages, salary, and commissions (before all payroll

 

 

deductions). if not paid monthlyl calculate what the monthly wage would be. 2. $ O_OO 5
1 3. Estimate and list monthly overtime pay. 3, + $ 0.00 + 55
4. Calcuiate gross income. Add line 2 + line 3. 4. $ 000 $

 

 

 

 

 

 

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Ofticiai Form 106| Schedule l: Your income page 1

Debtor 1 AMBER SHOUSE Case number iiil\.riawnr

 

 

 

Fird Name Middle Name LastName
For Debtor 1 For Debtor 2 or
non~iil|nq spous_¢;.~__
Copy line 4 here ............................................................................................... ') 4. $_[MQ $

5. indicate whether you have the payroll deductions below:

0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ $
5b. Mandatory contributions for retirement plans 5b. $ 0-00 $
50. Voluntary contributions for retirement plans 50. $ O-OO $
5d. Required repayments of retirement fund loans 5d. $ 0-00 $
5e. insurance 5e_ $ 0.00 $
5f. Domestic support obligations 5f. $ 0-00 $
Sg. Union dues 59- $ 0'00 $
5h. Other deductions. Specify: 5h. +$ 0.00 + $
e. Add the payroll deductions. Add lines 5a + 5b + se + 5a + se + 5f + 59 + 5h. 6 s 0.00 s
7. Calcuiate total monthly take-home pay. Subtract line 6 from line 4. 7, $ 0.00
8. List ali other income regularly received:
8a. Net income from rental property and from operating a business, 8a. $ 1419'48 $
profession, or farm
Attach a statement for each property and business showing gross receipts, ordinary and
necessary business expenses and the total monthly net income.
8b. interest and dividends $ 0.00 $
80. Family support payments that you, a non-filing spouse, or a dependent $ 0.00 $
regularly receive
include alimony, spousal supportl child supportl maintenancel divorce settlementl and
property settlement
8d. Unemployment compensation $ 0-00 $
Be. Social Security $ O_O()
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance that you
reoeive, such as food stamps or housing subsidies
Specify (Debtor1): Specify (Debtor 2 or Non-Fillng Spouse):
$ 0.00 $
Bg. Pension or retirement income $ O_OO $
8h. Other monthly income.
Specify (Debtor 1): Specify (Debtor 2 or Non-Fiiing Spouse);
$__M $
9. Add all other income. Add lines sa + sh + ac + ad + se + sf +ag + sh. $ 1419-48 $
‘10.Caicuiate monthly income. Add line 7 + line 9. $ 1419_43 .t. $ 0.00 = $ 1419.48
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. __

11.State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partnerl members of your household, your dependentsl your roommates, and other friends or
relatives. Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: 11 . + $ 0.00 ‘
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 12 1419 48
Write that amount on the Summary of Your Assets and Liabi/ities and Certain Stat/'sti'cal /nformafion, if it applies ` '
12. DEol you expect an increase or decrease within the year after you tile this fonn? gn%':i‘tl:i'}ei‘:icome
No.
Yes Exp,ain. l l-lAvE RECENTLY RETURNED TO SCl-lOOL AND Alvl NOT BE ABLE TO wORK AS MANY Houns.
' ' I\I'\F\lTl{-\L[I\l l \)‘ llll\\\*l"_ilhl"'\ kill ll 'l"ll'\l I_ l_Vl'\f-Llf"ll\.l'l"f'\.l\n nl_l‘JA_ll-\f'\f'\\ll_h 'l'l ll_ l A¢'\'l“ l_l_\ll

 

 

 

Case: 18-42750 Doc# 1 Filed: 11/21/18 Entered: 11/21/18 13:53:28 Page 34 of 56
Ofiicial Form 106l Schedule |: Your income page 2

Fill in this information to identify your case:

Debtor1 AMBER SHO USE

 

 

 

 

 

 

 

First Name Middle Name Last Name
Debtor2 Check if this is:
(SpOUSe, iffiling) FlrstName MiddieName LastName m An amended filing
United States Bankruptcy Court forthe: NORTHERN D'STR'CT OF CAL'FORN'A |;l A supplement showing postpetition chapter 13
income as of the following date:
Case number
('f""°W") Mivl / DD/ YYYY
Attach ment on Additional Employment/Busmesses lens
Fill in information about your UBER DR|VEB ,
additional sole proprietorship Name °f Se°°nd bus'"ess' d any
business 1154 SPRUCE STREET

 

Number Street

 

BERKELEY CA 94707
Cin State Z|P Code

Check the appropriate box to describe your business.'

Cl Health Care Business (as defined in 11 U.S.C. § 101(27A))
cl Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
n Stockbroker (as defined in 11 U.S.C. § 101 (53A))

El Commodity Broker (as defined in 11 U.S.C. § 101 (6))

a None ofthe above

Fill in information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~i your additional Debtor 1 Debtor 2 or non-filing spouse
l
employments
2. Occupation
Employer’s name
Employer’s address
Number Street Number Street
City State Z|P Code City State Z|P Code
How long employed there?
3. Occupation
Employer’s name
Employer’s address
Number Street Number Street
City State ZlP Code City State ZlP Code

How long employed there?

Ol'l'\e

case: 13-42750 Doc# 1 l=ilecl: fi'l"zdfl?it§"°"l§'r'ltered: 11/21/18 13:53:28 Page 35 of §%ge°‘

Fill in this information to identify your case:

Debtor1 AN|BER SHO USE

First Name Nidd|e Name Lasi Name
Debtor 2 Check if this is:

(SpOuSe, i'ffiling) FlrstName Mddle Name LastName m An amended filing

United States Bankruptcy Court forthe: NORTHERN D'STR'CT OF CAL'FORN'A n A supplement showing postpetition chapter 13
income as of the following date:

 

 

 

Case number

 

 

 

 

("k"°""") NlM / DD/ YYYY
Attachment on Additional Employment/Businesses 12/15
Fill in information about your LY"_r DR|VER_ _
additional sole proprietorship Name °fs°°°"d bus'"ess’ 'r any
business 1154 SPRUCE STREET

 

Number Street

 

BEF{KELEY CA 94707
City State Z|P Code

 

Check the appropriate box to describe your business.'

El Health Care Business (as defined in 11 U.S.C. § 101(27A))
El Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
n Stockbroker(as defined in 11 U.S.C.§ 101 (53A))

n Commodity Broker (as defined in 11 U.S.C. § 101 (6))

a None ofthe above

Fill in information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

your additional Debtor 1 Debtor 2 or non-filing spouse
employments
2. Occupation
Employer’s name
Employer’s address
Number Street Number Streei
City State Z|P Code City State ZlP Code
How long employed there?
3. Occupation
Employer’s name
Employer’s address
Number Street Number Street
Ciiy State Z|P Code City State Z|P Code

How long employed there?

case: 13-42750 Doc# 1 l=ilecl: inft”f:i'sY°“l§'nt‘é'l‘§d: 11/21/18 13:53:28 Page 36 of B”é’e“

Fill in this information to identify your case:

Debtor1 Al\/|BER SHOUSE

First Name Middle Name Last Name

Debtor2 Check if this is:
(Spouse, iffiiing) FlrstName MiddleName Las\Name m An amended filing

Unide States Bankrupth Courfforthe: NORTHERN D'STR'CT OF CAL'FORN'A El A supplement showing postpetition chapter 13
income as ofthe following date:

 

 

Case number
(if known)

 

MM / DD/ YYYY

 

 

Attachment on Additional Employment/Businesses 12/15

 

Fill in information about your DOOR DASH DE|-|VERY DR|VER

additional sole proprietorship Name °fse°°nd business' " any
business 1154 SPRUCE STREET

Number Street

 

 

BERKELEY CA 94707
City State ZiP Code

 

Check the appropriate box to describe your business.'

cl Health Care Business (as defined in 11 U.S.C. § 101(27A))
n Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
n Stockbroker (as defined in 11 U.S.C. § 101 (53A))

m Commodity Broker (as defined in 11 U.S.C. § 101(6))

a None ofthe above

Fill in information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

your additional Debtor 1 Debtor 2 or non-filing spouse
employments
2. Occupation
Employer’s name
Employer’s address
Number Street Number Street
City State Z|P Code City State Z|P Code
How long employed there?
3. Occupation
Employer’s name
Employer’s address
Number Street Number Street
City State Z|P Code City State ZlP Code

How long employed there?

case: 13-42750 Doc# 1 l=ilecl: i°i‘f£t'ffs"°"l§'n°r‘é"r‘eed: 11/21/18 13:53:28 Page 37 of B‘i?e“

Fill in this information to identify your case:

Al\/|BEFt SHOUSE

Debtor1 . . . l
FirstName MiddleName Last Name Check |f thls ls-

 

 

Debtor 2 -
(Spouse, 'lffi||'ng) FirstName MiddieName LastName g An amended man

A supplement showing postpetition chapter 13
United States Bankruptcy Court forthe: NORTHERN D|STR'CT OF CAL|FORN|A expenses as of the following date:

Case number MM / DD/ YYYY
(lfknown)

 

 

 

Official Form 106J
Schedule J: Your Expenses izns

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

 

Part 1: Describe Your Household

 

1. is this a joint case?

g No. Go to line 2.
n Yes. Does Debtor 2 live in a separate household?

cl No
E\ Yes. Debtor 2 must file Official Fo rm 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

2. Do you have dependents? g No
Dependent's relationship to Dependent's Does dependent live
Do not list Debtor1 and Cl Yes, Fiii out this information for Debtor1 or Debtor 2 age with you?
Debtor 2. each dependent .......................... '_ _ “_ ‘ m __ _
Do not state the dependents' n N°
names. Yes
n No
1:| Yes
cl No
n Yes
n No
\;l Yes
n No
\;l Yes
3. Do your expenses include g No

expenses of people other than
yourself and your dependents? n Yes

m Estimate Your 0ngoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule l: Yourlncome (Official Form 106|.) Y°“" expenses

4. The rental or horne ownership expenses for your residence. include first mortgage payments and $ 101~0:(‘)0_
any rent forthe ground or lot. 4. ___
if not included in line 4:
4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter's insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0-00

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Official Form 1

Debtor 1 Case number airwaer
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans 5.
6. Utiiities:
6a. E|ectricity, heat, natural gas 6a.
6b. Waterl sewer, garbage collection 6b.
Gc. Telephonel cell phone, |nternetl satellite, and cable services Sc.
6d. Other. Specify; 6d.

7. Food and housekeeping supplies 7.

8. Childcare and children’s education costs 8.

9. Clothing, |aundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. include gas, maintenanoe, bus ortrain fare.

Do not include car payments. 12.
13. Entertainment, ciubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. |nsurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance 15a.

15b. Health insurance 15b.

150. Vehicle insurance 15a.

15d. Other insuranoe. Speciiy: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16.
17. installment or lease payments:

17a. Car payments for Vehicle 1 17a.

17b. Car payments for Vehicle 2 17b.

17c. Other. Specify: 17c.

17d. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule l, Your Income (Official Form 106i). 18.
19. Other payments you make to support others who do not live with you.

Specify; 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your Income.

203. Mortgages on other property 20e.

20b. Real estate taxes 20b.

200. Property, homeowner's, or renter’s insurance 200.

20d. Maintenanoe, repairl and upkeep expenses 20d.

20e. Homeowner's association or condominium dues 20e.

Official FormC1

AMBER SHOUSE

 

 

 

 

 

 

 

 

F: 18-42750 DOC# 1 File°qhétdiligji/Ytos"Eprgris§rsed: 11/21/18 13:53:28 Page 39 of

Vour expenses

$ 0.00

$_40-00_
$ 20.00
$ §Q.QO
$__M
$ 700.00
$_FA
$______6_0_._0_0_
$ §Q,QQ
$_80_00_
$ 950.00
5 150.00
$ 2_(],§1_()
$ 0.00
$ 0.00
$ 150.00
$ 0.00
$ 0.00
5 193.75
$
$
$
$ 0.00
$ 0.00
5 0.00
$ Q.OQ
0.00
$ 0.00
$ Q.QQ
5p(r=?ge 2

Debtor1 AMBER SHOUSE

First Name Middle Name Last Name

 

21. Other. Specify: UNT|L A FEW MONTHS AGO l WAS PAY|NG T|

22. Calcuiate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), ifany, from thciai Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses.

23. Calcuiate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule /.

23b. Copy your monthly expenses from line 22c above.

230. Subtract your monthly expenses from your monthly income.
The result is your monthly netincome.

Case number ir miami

21.

22a.

22b.

22c.

233.

23b.

23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to tinish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

g No.

cl Yes. 1 Expiain here:

Omcia|Form%§e: 18-42750 Doc#l Fil§g‘:egu]k/%§:l¢our£xrl§g

65

 

 

+$ 1103.00
$ 4616.75 I
$ 0.00 i
$ 4616.75
$ 1419.48
_$ 4616.75
$ -3197.27

 

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s page3

 

Fill in this information to identify your case:

Debtor1 AMBEFt SHOUSE

First Name Middle Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN D|STR|CT OF CAL|FORN|A

 

Case number
(if known)

 

Ei check ifthis is an
amended ii|ing

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedu|es 12/15

 

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.

-Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

ENo

a Yes, Name of person .Attach Bankmptcy Petifion Preparer's Notice, Declaratlon, and
Signature (Official Form 119).

Under penalty of perjury, | declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

x 4ala/okla ila x

 

Signature of Debtor 1 Signature of Debtor 2
Date li z §§ f Mt£ Date
MM/ DD / YYYY MM/ DD / YYYY

official For$ame'eélS-42750 DOC# 1 EHasi-adnL/M&Sn rnEiiiiiG£Hit£hti>il:£%lrll&rlB:BS:ZS Page 41 of 56

Fill in this information to identify your case:

 

Debtor1 AMBEF{ SHOUSE

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court forthe: NORTHERN D|STR|CT OF CAL|FORN|A

 

Case number

iliknown) El check if this is an
amended filing

 

 

Official Form 107
Statement of Flnancia| Affairs for individuals Fi|ing for Bankruptcy 04/16
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give Details About Your Haritai Status and Where You Lived Before

 

1. What is your current marital status?

Cl lVlarried
g Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

EiNo

g Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor 1 m Same as Debtor 1
WTEEE[ _ _ From 2012 _ From
um er lreet Number Street
TO 291_5_ TO
HiLO Hl 96720
City State Z|P Code City State Z|P Code
n Same as Debtor 1 n Same as Debtor 1
15-1788 22ND sTHEET mm 201 5 mm

 

 

Number Street

Nu b Si t : | ,
rn er ree To 2 To

 

 

KEAAU H| 96749
ciiy state ziP code city siaie ziP code

 

 

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Caiifornia, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washingtonl and VVisconsin.)

n No
M Yes. Make sure you fill out Schedule H.' Your Codebtors (Official Form 106H).

m Explain the Sources of Your income

 

Of"°‘a'F°"“ 339:18-42750 Do`°'c'ilef'°"ti£’ll§iél?"fif'/§J?‘iss'°"Edri"i‘§`l"e'?i:Fii"f/§’i?f§“'i'§':°§s:28 Page 42 01 §§ge1

Debtor 1

A|\/iBER SHOUSE

 

First Name

Middle Name Last Nam

9

Case number immoral

 

4_ Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ali jobs and ali businesses, including part-time activities.
lfyou are filing a joint case and you have income that you receive togetherl list it only once under Debtor 1.

l;lNo

Z Yes. Fill in the details

Debtor 1

Sources of income
Check all that apply.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

n Wages, commissionsl
bonusesl tips

g Operating a business

g Wages. commissions,
bonusesl tips

(January 1 to December31,_2£17_)
YYYY

For the calendar year before that:

(January1 to December 31 , L
YYYY

g Operating a business

g Wages, commissions,

bonuses, tips

) n Operatinga business

Gross income

(before deductions and
exciusions)

$ 25476.01
$ 22592
$ 5465

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxabie. Examples of other/ncome are aiimony; child support; Social Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and
gambling and lottery winnings. if you are filing a joint case and you have income that you received togetherl list it only once under Debtor 1_

Debtor 2

Sources of income
Check all that apply.

a Wages, commissions,
bonusesl tips

n Operating a business

n Wages, commissions,
bonuses. tips

m Operatinga business

n Wagesl commissions,
bon usesl tips

m Operalinga business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

DNo

9 Yes. Fill in the details

From January1 of current year until

Debtor 1

Sources of income
Describe below.

the date you filed for bankruptcy:

For last calendar year:

(January 1 to December31, 2017)
YYYY

Gross income from
each source

(before deductions and
exoiusions)

Debtor 2

Sources of income
Describe beiow.

 

 

 

For the calendar year before that:

(January1 to DecemberSi,M)
YYYY

Officlal For 107
U.S€Z

 

 

 

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BuslNEss/Pnoi=EssloNl=Al=lll/l $ 5721 _OO
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lie

 

a"i‘iiz'iils§°"

Gross income

(before deductions and
exciusions)

Gross income from
each source

(before deductions and
exciusions)

ll'i‘&"laé?i':=i'fl"f/'é"l?i%"f§t:°§s:23 Page 43 01 §?>ge 2

Debtor1 AMBER SHOUSE Case number iilmmii

First Name Middle Name Last Name

 

 

m List Certain Payments You blade Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

El No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
"incurred by an individual primarily for a personal, family, or household purpose_"

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
Ei No. co to line 7.

n Yes. List below each creditorto whom you paid a total of$6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Alsol do not include payments to an attorney forthis bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or atterthe date of adjustment.

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you med for bankruptcyl did you pay any creditor a total of $600 or more?

Z No. Go to line 7.
Cl Yes. List below each creditorto whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Alsol do not include payments to an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment for...
Pay"\e\’\t

$ $ m Morigage
cl Car

Number Street n Credii card

 

Creditor’s Name

 

n Loan repayment

 

n Suppliers or vendors
n Other

 

City State Z|P Code

$ $ n Mortgage
a Car

0 Credii card

 

 

Creditor's Name

Number Street

n Loan repayment

 

n Suppliers or vendors

 

 

 

city stare zlP code cl Other
$ $ n Mortgage
Creditors Name
n Car

 

Number Street a Credii Card

m Loan repayment

 

n Suppiiers or vendors

 

City scale zlP code m Olher
' F‘ ' ' f l d' ' F'l' k
Of"°'a' F°'EY§@: 13-42750 DoséYl°T°"tlgllé'éi:"‘i'i'/§T/'fs°' 'l`§ll'i'°é“raésd:"l" §'1?§'§ 'i'§t:°§a:zs Page 44 01 §%ge 3

Debtor1 AMBER SHOUSE

Case number ial-marti
First Name Middle Name Lasi Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of Which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligationsl
such as child support and alimony.

gNo

Cl Yes. List ali payments to an insider.

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
insiders Name
Number Street
City State Z|P Code
$ $

 

insiders Name

 

Number Street

 

ci_ty _state zlP code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

gNo

n Yes. List all payments that benefited an insider.

 

 

 

 

 

 

 

 

 

Dates of To_tai amount Amount you still Reason for this payment
payment pa'd owe include creditor's name
insiders Name $ $
Number Street
City State Z|P Code
$ $
insiders Name
Number Street
city state zlP Code
Official For 107 Statement of Financia| Affa`rs for individuals Fiiin for Bankru tc age 4
Ease: 13-42750 DOC# 1 l=lleci: 11/21 13 Entered: 1£/21/ s 1§:§3:28 Page 45 01§6

Debtor1 AMBER SHO USE Case number tirle

First Name Middle Name Last Name

 

 

m identify Legal Actlons, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actionsl divorces, collection suits, paternity actions, support or custody modifications
and contract disputes

E'No

Ei Yes. Fill in the detaile.

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
case title icm Name Cl Pending
m On appeal
'Number Street m Conc|uded
Case number
lCity State Z|P Code
Case title _ mmé_ ' _ _ n Pe"ding
n On appeal
Number Street n Concluded
Case number
iC`lty State Z|P Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or ievied?
Check all that apply and fill in the details beiow.

El No. Gotoline11.
n Yes. Fill in the information below.

Describe the property Date Value of the property

Creditors Name

 

Number Street Explaln what happened

El Property was repossessed.

 

Cl Property was foreclosed.
Cl Property was garnished,
'city " state `zlP code El Property was attached, seizedl or levied.

Describe the property Date Value of the property

 

Creditors Name

 

Number Street
Explain what happened

 

Property was repossessed.

Property was foreclosed

Property was garnished,

Property was attached, seized, or ievied.

 

City State Z|P Code

UUUU

°"'°‘a":°r ét°§e: 13-42750 Dosc‘?¢l°l'°“‘l£’ll§‘tl?"i‘f'/§ii‘iss'°"E"ri"t‘§`i?e'?i§‘i'i?/§’i?f§“'i'§':l§s:28 Page 46 01 §§ges

Debtor 1 AMBER SHO USE Case number iillmwl:i

First Name Middle Name Last Name

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

ZNo

Ci Yes. Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City State Z|P Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another officia|?

g No
n Yes

m List Certain Gifts and Contributions

 

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

g No
n Yes. Fill in the details for each gift.

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
_ $
Number Street
City State Z|P Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
_ _ _ $
Person to Whom You Gave the Gift
$

 

 

Number Street

City State Z|P Code

Person's relationship to you

thciai ForE 107 Statement o_f Financiai Affairs for individuals Fi|ing for Bankru tcy page 6
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Debtor1 AMBER SHOUSE Case number (irkndwnl

First Name Middle Name Last Name

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

ENo

m Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity's Name

 

Number Street

 

City State Z|P Code

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

UNO

El Yes. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred _ _ _ _ _ loss lost
include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy,

g No
El Yes. Fill in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person who was Paid made
Number Street $
$

City State Z|P Code

 

Email or website address

 

Person Who Made the Payment, if Not You

0f"°‘a'F°'Eét%7e:18-42750 Dosé#°f‘e"‘lf’llE‘El‘i'"f‘f'/§iiiissf°"E°'ri`l‘§`it"e'?l:Fii"f/§’ilaf§“'l“§t:°eys:28 Page 48 01 §§ge?

Debtor1 AMBER SHO USE Case number (/rknown)

First Name Middle Name Last Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

city state zlP code _

 

Email or website address

 

Person Who Made the Payment, if Not You

z 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

El Yes. Fill in the details

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person who was Paid `
Number Street $
_ _ _ $

city state _zlP code

18. Within 2 years before you filed for bankruptcy, did you seii, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

UNo

EI Yes Fill in the details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Reoeived Transfer

 

Number Street

 

 

City State Z|P Code

Person's relationship to you

 

Person Who Reoeived Transfer

 

Number Street

 

 

city state zlP code

Person's relationship fo you

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Debtor1 AMBER SHOUSE Case number (irkndwn)

First Name Middle Name Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

g No
El Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

Name of trust

 

List certain Financlai Aeeount¢, instruments sara noposit nexu, and storage units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

gNo

Ei Yes. Fill in the details

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, soid, moved, closing or transfer
or transferred
Name of Financial institution
XXXX-_ _ __ _ l:l checking ”__ $
Number Street a Savings

 

cl Money market

 

n Brokerage

 

 

 

City State ZlP Code cl othe[
XXXX- l:l checking _ 3
Name of Financlai institution _`
n Savings
Number street n Money market

n Brokerage

 

l:l other

 

City State Z|P Code

21. Do you now have. or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

la No
El Yes. Fill in the details

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
cl No
Name of Financlai institution Name n Yes
Num ber Street Number Street
city state zlP code

 

City State Z|P Code

°f"°‘a'F°'t‘,‘ét%7e: 13-42750 Dosc‘#°i"°"li’i§iél?'t'fl£i?ii§'°"E“ii`tié"r‘§'€l:Fill'igi§°i/Bf§k'l"§%ys:zs Page 50 01 §§geg

Debtor1 AMBER SHOUSE Case number t'iilitmvrii

First Name Middle Name Last Name

 

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes. Fiii in the detaiis.

 

 

Who else has or had access to it? Describe the contents Do you still
have lf?
f cl No
Name of Storage Facility Name j n Yes
Number Street Number Street

 

City$ta!e Z|P Code

 

City State Z|P Code

m ldentify Property You Hold or Control for Somoono Elso

- 23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
M No
El Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner‘s Name $

 

Num ber Street

 

Num ber Street

 

 

 

City State Z|P Code

 

City State Z|P Code

m leo Dotalls About Environmental information

 

For the purpose of Part 10, the following definitions apply:

v Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

ll Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental iaw?

ENo

El Yes. Fili in the detaiis.

 

 

 

Governmenta| unit Environmental law, |f you know lt Date of notice
Name of site Govemmenta| unit
Num ber Street Number Street
City State Z|P Code

 

 

City State Z|P Code

Of"°‘a'F°rCé%?e: 13-42750 Dosé#°£‘e"'lfi'l§‘&l‘:’"f?'/QI?H%'°"E’r‘l‘t‘é'i"e'?i:F‘TP/§’i?f§"_”i'§t:`€e:28 Page 51 of é’ége 1°

Debtor 1 AMB ER SHO US E Case number (irknawn)

First Name Middle Name Last Name

 

26. Have you notified any governmental unit of any release of hazardous materia|?

ENo

El Yes. Fiii in the details.

 

 

 

 

Governmental unit Environmental lawl if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State Z|P Code

 

City State ZiP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental |aw? include settlements and orders.

ZNo

El Yes. Fiii in the detaiis.

 

 

 

 

 

C°'-"t °l' agency Nature of the case Status °f the
case
Case title
Court Name n Pendlng
n On appeal
Number street m Conciuded
case number city state zlP code

m leo Dotai|a About Your Buoln¢u or Coni'ioctlons to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
g A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
g A member of a limited liability company (LLC) or limited liability partnership (LLP)
cl A partner in a partnership
n An officer, director, or managing executive of a corporation

cl An owner of at least 5% of the voting or equity securities of a corporation

l:l No. None of the above applies. Go to Part 12.
g Yes. Check all that apply above and fill in the details below for each business.

 

 

 

 

 

 

 

UBER Describe the nature of the business Emp|oyer identification number
Do not include Social Security number or lTiN.
Business Name
TH|S ADDRESS |S FOFl THE UBER
1455 MARKET ST #400 zHEADQuAFiTEFis iN sAN i=nANcisco. i Aivi AN EiN: 4_5-§47£11_ _ _ _ __
Number Street - :"UBEFl-DFl|VEFi PARTNER." |V|EAN|NG THAT|
All/l Al\l |t\ll'tl:DEl\ihENT (`f"tf\l'f'QAf`Tf`tD Ti-i:
Name of accountant or bookkeeper Dates business existed
SAN FRANClSC- CA 94103 F'°"‘ ~____ T° __
city state zlP code
Describe the nature of the business Emp|oyer identification number
COUNTY 0 F HAWA" Do not include Social Security number or l11N.
Business Name
=GOVEFlNl\/|ENT BODY
25 AuPuNl STREET EIN= 9_9690.056_7 _ _ _ _ ,_._
Number Street
Name of accountant or bookkeeper Dates business existed
Hll_O l-ll 96720 l F'°"' 2015_ T° 2911

 

City State Z|P Code

Officia|For 1087€_ 18 42750 DOSCt einent|gf|Fein nci:T-l/2 ffa}irns§‘orl Edri]vtidei:_aelsdFi|inf/fzor?jar€ig nukr Ji_it:§ gg 28 Page 52 Of §39€ €11

Debtor1 AMBER SHOUSE Case number terminal

First Name Middle Name Last Name

 

Describe the nature of the business Emp|oyer |dentmca"°n number

 

 

 

THE FAM"_Y FARM |NC Do not include Social Security number or iTlN.
Business Name ORGAN|C FAF{N|, l HELPED TO

HARVEST LYCHEE AS A SUMMER ElN= BASESW ______
P.O. BOX 5 ..._
Number Street Name of accountant or bookkeeper Dates business existed
NlNOLE l-ii 96773 From 20_‘1_6_ To _

 

City State Z|P Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

ElNo

n Yes. Fill in the details beiow.

Date issued

 

Name m

 

Num ber Street

 

 

City State Z|P Code

i have read the answers on this Statement of Financlai Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct. i understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

x Adit.tm gillette -C x

Signature of Debtor 1 Signature of Debtor 2

Date H l ad 134 lle) Date

Did you attach additional pages to Your Statement of Financlai Affairs for lndlvlduals Fillng for Bankruptcy (Official Form 107)?

g No
n Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
g No

cl Yes. Name of person . Attach the Bankmpfcy Pef/'tion Preparer's Notice,
Declarafion, and Signature (Official Form 119).

°f"°ia'F°r §§9:13-42750 D§tt:°i§t°T°"‘i%'ilFé'éi‘:"?iii'/'Z"f)"f§°'"i§i§'t‘é"raés :"if'f/Z'l'ii'§"f§’t:°§s:za Page 53 of §%ge 12

Fill in this information to identify your case:

 

Debtor1 Al\/|BER SHOUSE

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

NORTHEFiN DlSTFilCT OF CAL|FORN|A

 

Uniled States Bankruptcy Court forthe:
Case number El check ifthie is ah
(lfi<hown) amended filing

 

 

Official Form 108
Statement of intention for individuals Fi|ing Under Chapter 7 12/15

if you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List ¥our Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Credltors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below.

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property

secures a debt?

as exempt on Schedule C?

 

 

 

Creditor's
name: GM FlNANClAL n Surrender the property. g No
_ _ n Retain the property and redeem it. E\ Yes
:;:(:Y;|on of g Retain the property and enter into a
Securing deth Reaffirmati`on Agreement.
n Retain the property and [exp|ain]:
Creditor'$ El Surrender the property. El No
name:
_ v n Retain the property and redeem it. El Yes
Ereo::;§;|on of El Retain the property and enter into a
Securing deth Reaff/'rmafi'on Agreement.
El Retain the property and [explain]:
Creditors cl Surrender the property. m No
name:
n Retain the property and redeem it. |;l Yes
§r:sp(::tp;|on of El Retain the property and enter into a
Securing debt Reafiinnation Agreement.
l;l Retain the property and [exp|ain]:
Creditors Cl Surrender the property. El No
name;
Cl Retain the property and redeem it. Cl Yes

Description of

property
securing debt:

Case: 18-42750

Official Form 108

n Retain the property and enter into a
Reafhrmati'on Agreemenf.

El Retain the property and [exp|ain]:

 

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Statement of intention for individuals Fi|ing Under Chapter 7

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page 1

Debtor1 AMBER SHOUSE Case number (/rknowni

 

Flrs Name Middle Name LaslName

m List Your Unexpired Personai Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Wi|l the lease be assumed?

Lessor's name: PAVANA DULL El No
MYes

Description of leased FtENT

property:

Lessor's name: E| N°

Description of leased n Yes

property:

Lessor's name: C| N°

Description of leased a Yes

property:

Lessor's name: n No
n Yes

Description of leased

property:

Lessor'S name: C| No
n Yes

Description of leased

property:

Lessor's name: E| No

. . El Yes

Description of leased

property:

Lessor's name: n No
m Yes

Description of leased
property:

Under penalty of perjury, l declare that l have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

x j }tLLJi/,l_..:é'}l-JM'/>L _ x _ _ _ _

Signature of Debtor 1 Signature of Debtor 2

Date ll g'--Ll f ;E`E!E} Date
Ml'iil i;\ l YYY\' MM/ DD/ YYYY

Official Form@we: 18'42750 DO@Bt]!merE-gelqt'eilti]otzflnr§ivid&dlgeil@igUMW§r$S:BS:ZS Page 55p93e56

UN|TED STATES BANKRUPTCY COURT FOR THE

NORTHERN DlSTFilCT OF CAL|FORN|A

 

|n re:

AileEn sl-lousE Chapter 7

Debtor.

 

NOT|CE OF PRO SE ASS|STANCE

|, AMBER SHOUSE , received free assistance in preparing my

bankruptcy forms from the 501(c)(3) nonprofit, Upsolve.org. | am filing this case without a lawyer

or "pro se."

x %/V%,M .>\lJyELi,}C» Date: l l!/ )_l l l~(` ig

Signature of Debtor 1, Fi|ing Pro Se

Because Upsolve.org has rendered its services pro bono and without compensation, it
is not a "petition preparer" as defined by 11 U.S.C. § 110.

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